Case 3:18-cr-00757-BRM Document 35 Filed 02/04/19 Page 1 of 2 PagelD: 268
RECEIVED

 

 

FEB - 4 2019
AT 8:30 '
WILLIAM T. WALSE
CLERK
UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY
UNITED STATES OF AMERICA Hon. Brian R. Martinotti
Vv. Crim. No. 3:18-cr-00757-BRM
STEVEN BRADLEY MELL ORDER TO AMEND JUNE 19, 2018
a/k/a BRADLEY MELLEL RELEASE CONDITIONS

 

 

This matter having come before the Court on the application of Steven Bradley Mell (by
David J. Bruno, Esq. of the Bianchi Law Group, LLC) for an order amending the release
conditions entered in the above-captioned matter by Hon. Cathy Waldor on June 19, 2018 to
allow for one-time travel exceptions for a limited period of time to be determined by United
States Pretrial Services for Mr. Mell to travel to 620 Black River Rd., Bedminster, New Jersey
and Safeguard Self-Storage at 1096 US-22, Mountainside, New Jersey to obtain documents and
records necessary to complete Mr. Mell’s presentence report and for Mr. Mell’s upcoming
sentencing proceeding; and the Government, through Assistant United States Attorney Danielle
Alfonzo Walsman, having consented to the amendment; and United States Pretrial Services,
through United States Pretrial Services Officer Kelly Fernandes, having consented to the

amendment; and for good and sufficient cause shown;
IT IS on this xy day of February 2019;

ORDERED that the June 19, 2018 release conditions shall be amended to allow the
Defendant to travel to 620 Black River Rd., Bedminster, New Jersey and Safeguard Self-Storage
at 1096 US-22, Mountainside, New Jersey.

IT IS FURTHER ORDERED that above mentioned travel exceptions to the June 19,
Case 3:18-cr-00757-BRM Document 35 Filed 02/04/19 Page 2 of 2 PagelD: 269

2018 release conditions are limited to one time for each location and United States Pretrial

Services shall determine the date, time and duration of the travel.

Lu def

HONORABLE BRIAN R. MARTINOTTI

Form and entry consented to:

 

 

Assistant United Stat omey
